      Case 3:20-cr-00249-RS       Document 676   Filed 06/06/25   Page 1 of 1



 1   MICHAEL J. SHEPARD (Bar No. 91281)
       mshepard@kslaw.com
 2   KING & SPALDING LLP
     50 California Street, Suite 3300
 3   San Francisco, California 94111
     Telephone:     +1 415 318 1200
 4   Facsimile:     +1 415 318 1300

 5   KERRIE C. DENT (Admitted pro hac vice)
      kdent@kslaw.com
 6   KING & SPALDING LLP
     1700 Pennsylvania Avenue, NW, Suite 900
 7
     Washington, DC 20006-4707
 8   Telephone:   +1 202 626 2394
     Facsimile:   +1 202 626 3737
 9
     CINDY A. DIAMOND (SBN 124995)
10    cindy@cadiamond.com
     ATTORNEY AT LAW
11   58 West Portal Avenue, #350
12   San Francisco, CA 94127
     Telephone:    +1 408 981 6307
13
     Attorneys for Defendant
14   ROWLAND MARCUS ANDRADE

15
                           IN THE UNITED STATES DISTRICT COURT
16
                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
17

18
     UNITED STATES OF AMERICA,                    Case No. 3:20-CR-00249-RS
19
                     Plaintiff,                   DEFENDANT’S ADMITTED EXHIBITS
20
           v.
21
     ROWLAND MARCUS ANDRADE,
22
                     Defendant.
23

24

25

26

27

28

     DEFENDANT’S ADMITTED EXHIBITS                                 CASE NO. 3:20-CR-00249-RS
